      Case 1:24-cv-00418-LJV-HKS                    Document 55   Filed 09/20/24   Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


Minnebo, et al                                  ,

                                       Plaintiff,                      STIPULATION
                                                                  SELECTION OF MEDIATOR
                   v.
                                                                         1:24-cv-418-LV

Metal Supermarkets Franchising America, et al   ,

                                       Defendant.



          IT HEREBY IS STIPULATED AND AGREED, by and between counsel for all parties

to this action, that F. Peter Phillips                 , Esq. has been selected, contacted and has

agreed to serve as Mediator for this action.

          IT IS FURTHER STIPULATED AND AGREED, in consultation with the Mediator,

that the initial mediation session will be held on 11.13.24 at 10 a.m.                           .

          IT IS FURTHER STIPULATED AND AGREED that counsel will participate in the

mediation session in good faith and confer with the Mediator regarding the scheduling of

additional conference(s), bearing in mind the deadline for the completion of ADR set forth

in the Court’s Scheduling Order.

Dated: 9.20.24



/s/ Evan M. Goldman
___________________________                           James C. Rubinger
                                                      ________________________________
    Counsel for Plaintiff(s)                                Counsel for Defendant(s)




                                                        1
